     Case 2:10-cr-00223-JAM-KJN Document 87 Filed 07/12/10 Page 1 of 2


 1     LAW OFFICES OF SCOTT L. TEDMON
       A Professional Corporation
 2     SCOTT L. TEDMON, CA. BAR # 96171
       1050 Fulton Avenue, Suite 218
 3     Sacramento, California 95825
       Telephone: (916) 482-4545
 4     Facsimile: (916) 482-4550
       Email: tedmonlaw@comcast.net
 5
       Attorney for Defendant
 6     HODA SAMUEL
 7
 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
       UNITED STATES OF AMERICA,           )
12                                         )                 No. Cr. S-10-223 JAM
                         Plaintiff,        )
13                                         )                 WAIVER OF DEFENDANT
                   v.                      )                 HODA SAMUEL’S
14                                         )                 PERSONAL PRESENCE
       HODA SAMUEL, et al.,                )
15                                         )
                         Defendants.       )
16     ____________________________________)
17            Defendant, Hoda Samuel, hereby waives the right to be in person in open court upon the
18     hearing of any motion or other proceeding in this cause, including, but not limited to, when the
19     case is ordered set for trial, when a continuance is ordered, and when any other action is taken
20     by the Court before or after trial, except upon arraignment, plea, impanelment of jury and
21     imposition of sentence. Defendant Samuel hereby requests the Court to proceed during every
22     absence of the defendant which the Court may permit pursuant to this waiver; agrees that
23     defendant’s interest will be deemed represented at all times by the presence of defendant’s
24     attorney, the same as if defendant were personally present; and further agrees to be present in
25     person in court ready for trial any day and hour the Court may fix in defendant’s absence.
26            Defendant Samuel further acknowledges that defendant has been informed of
27     defendant’s rights under Title 18 U.S.C. Section 3161-3174 (Speedy Trial Act), and authorizes
28     defendant’s attorney to set times and delays under that Act without defendant being present.

                                                   - 1 -
     Case 2:10-cr-00223-JAM-KJN Document 87 Filed 07/12/10 Page 2 of 2


 1     DATED: July 2 , 2010         I consent to the above waiver of presence.
 2                                  /s/ Hoda Samuel
                                    HODA SAMUEL
 3                                  Defendant
 4
       DATED: July 2 , 2010         I agree to the above waiver of presence.
 5
                                    /s/ Scott L. Tedmon
 6                                  SCOTT L. TEDMON
                                    Attorney for Defendant Hoda Samuel
 7
 8
       DATED: July 9, 2010          I approve the above waiver of presence.
 9
                                    /s/ John A. Mendez
10                                  JOHN A. MENDEZ
                                    United States District Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                         - 2 -
